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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                                    8:03CR395

       vs.
                                                                      ORDER
DARIES L. DEVERS,

                     Defendant.


Defendant Daries L. Devers appeared before the court on Friday, October 17, 2014 on a Petition
for Warrant or Summons for Offender Under Supervision [173]. The defendant was represented
by Assistant Federal Public Defender Michael F. Maloney, and the United States was
represented by Assistant U.S. Attorney Lecia E. Wright on behalf of Douglas R. Semisch. The
government did not request detention, therefore, the Defendant was not entitled to a preliminary
examination. The defendant was released on current terms and conditions of supervision.
       I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Chief Judge Smith Camp.
       IT IS ORDERED:
       1.     A final dispositional hearing will be held before Chief Judge Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, on November 20, 2014 at 9:30 a.m. Defendant must be present in person.
       2.     The defendant is released on current conditions of supervision.


       Dated this 17th day of October, 2014.




                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge
